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 UNITED STATES
 UNITED        BANKRUPTCY COURT
        STATES BANKRUPTCY COURT
 DISTRICT OF
 DISTRICT OF NEW
             NEW JERSEY
                 JERSEY

 Caption in
 Caption in Compliance
            Compliance with
                       with D.N.J.
                            D.N.J. LBR
                                   LBR 9004-1(b)
                                       9004-2

 PAUL HASTINGS
 PAUL   HASTINGS LLP
                   LLP
 Kristopher M.
 Kristopher M. Hansen
               Hansen (admitted
                      (admitted pro
                                pro hac
                                    hac vice)
                                        vice)
 200 Park
 200 Park Avenue
          Avenue
 New York,
 New  York, New
            New York
                York 10166
                      10166
 (212) 318-6400
 (212) 318-6400

 -and-
 -and-

 Matthew M.
 Matthew  M. Murphy
              Murphy (admitted
                       (admitted pro
                                  pro hac
                                      hac vice)
                                          vice)
 Matthew Micheli
 Matthew  Micheli (admitted
                   (admitted pro
                              pro hac
                                  hac vice)
                                      vice)
 71
 71 South Wacker Drive,
    South Wacker    Drive, Suite 4500
                           Suite 4500
 Chicago, Illinois
 Chicago, Illinois 60606
                   60606
 (312) 499-6018
 (312) 499-6018

 COLE SCHOTZ
 COLE    SCHOTZ P.C.P.C.
 Court Plaza
 Court  Plaza North
              North
 25 Main
 25 Main Street,   P.O. Box
           Street, P.O.  Box 800
                             800
 Hackensack, New
 Hackensack,   New Jersey    07602-0800
                      Jersey 07602-0800
 Michael D.
 Michael  D. Sirota  (NJ Bar
              Sirota (NJ  Bar No.
                              No. 014321986)
                                   014321986)
 Warren A.
 Warren   A. Usatine
             Usatine (NJ
                       (NJ Bar
                           Bar No.
                               No. 025881985)
                                    025881985)
 Seth Van Aalten
 Seth Van   Aalten (admitted   pro hac
                    (admitted pro  hac vice)
                                        vice)
 Justin Alberto (admitted
 Justin Alberto  (admitted pro
                            pro hac
                                hac vice)
                                     vice)
 (201) 489-3000
 (201)  489-3000

 PARKINS &
 PARKINS    & RUBIO
              RUBIO LLPLLP
 Lenard  M. Parkins
 Lenard M.  Parkins (admitted
                    (admitted pro
                              pro hac
                                  hac vice)
                                      vice)
 Charles M.
 Charles M. Rubio
            Rubio (admitted
                   (admitted pro
                             pro hac
                                 hac vice)
                                     vice)
 700 Milam, Suite
 700 Milam,        1300
             Suite 1300
 Houston, Texas
 Houston, Texas 77002
                 77002
 (713) 715-1666
 (713) 715-1666

 Counsel
 Counsel to Ad Hoc
         to Ad Hoc Committee of Supporting
                   Committee of Supporting
 Counsel
 Counsel
                                                             Case No.
                                                             Case No. 23-12825
                                                                      23-12825 (MBK)
                                                                               (MBK)
 In re:
 In re:
                                                             Chapter 11
                                                             Chapter 11
                              1
 LTL Management, LLC,
 LTL Management, LLC,1
                                                             Judge Michael B.
                                                             Judge Michael B. Kaplan
                                                                              Kaplan
                                     Debtor.
                                     Debtor.

11 The
   The last
        last four digits of
             four digits of the
                            the Debtor's
                                Debtor’s taxpayer
                                         taxpayer identification
                                                  identification number are 6622.
                                                                 number are 6622. The Debtor’s address
                                                                                  The Debtor's address is
                                                                                                       is 501 George
                                                                                                          501 George
 Street, New Brunswick,
 Street, New   Brunswick, New
                            New Jersey  08933.
                                 Jersey 08933.
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                   DECLARATION OF
                   DECLARATION OF MIKAL
                                  MIKAL C.  WATTS
                                         C. WATTS
    IN SUPPORT
    IN SUPPORT OF
               OF OMNIBUS
                  OMNIBUS OBJECTION
                          OBJECTION OF
                                    OF THE
                                       THE AD
                                            AD HOC
                                               HOC COMMITTEE OF
                                                   COMMITTEE OF
             SUPPORTING COUNSEL
             SUPPORTING COUNSEL TO  MOTIONS TO
                                 TO MOTIONS     DISMISS
                                             TO DISMISS

I, Mikal C.
I, Mikal C. Watts,
            Watts, declare pursuant to
                   declare pursuant to 28
                                       28 U.S.C.
                                          U.S.C. §
                                                 § 1746
                                                   1746 as
                                                        as follows:
                                                           follows:

       1.
       1.       II am
                   am aa Named
                         Named Partner
                               Partner and
                                       and Founder
                                           Founder of
                                                   of the
                                                      the law firm Watts
                                                          law firm Watts Guerra,
                                                                         Guerra, LLC (“Watts
                                                                                 LLC ("Watts

Guerra”). Watts
Guerra"). Watts Guerra
                Guerra is
                       is aa member
                             member of
                                    of the
                                       the Ad
                                           Ad Hoc
                                              Hoc Committee
                                                  Committee of
                                                            of Supporting Counsel (the
                                                               Supporting Counsel (the "AHC
                                                                                       “AHC

of Supporting
of            Counsel”) pursuant
   Supporting Counsel") pursuant to
                                 to the
                                    the Verified Statement of
                                        Verified Statement of Paul
                                                              Paul Hastings
                                                                   Hastings LLP,
                                                                            LLP, Cole Schotz
                                                                                 Cole Schotz

P.C. and
P.C. and Parkins
         Parkins &
                 & Rubio
                   Rubio LLP
                         LLP Pursuant
                             Pursuant to Bankruptcy Rule
                                      to Bankruptcy Rule 2019
                                                         2019 [ECF
                                                              [ECF No.
                                                                   No. 470]
                                                                       470] filed
                                                                            filed in the
                                                                                  in the

above-captioned bankruptcy
above-captioned bankruptcy case
                           case (the
                                (the "Chapter
                                     “Chapter 11
                                              11 Case")
                                                 Case”) of
                                                        of the
                                                           the Debtor.
                                                               Debtor.

       2.
       2.       II submit
                   submit this
                          this declaration
                               declaration (the
                                           (the "Declaration")
                                                “Declaration”) in
                                                               in support
                                                                  support of
                                                                          of the
                                                                             the Omnibus
                                                                                 Omnibus Objection
                                                                                         Objection

of the
of     Ad Hoc
   the Ad Hoc Committee of Supporting
              Committee of Supporting Counsel
                                      Counsel to Motions to
                                              to Motions    Dismiss, filed
                                                         to Dismiss, filed contemporaneously
                                                                           contemporaneously

herewith (the
herewith (the "Motion").
              “Motion”). The statements in
                         The statements in this
                                           this Declaration
                                                Declaration are
                                                            are true
                                                                true to
                                                                     to the
                                                                        the best
                                                                            best of
                                                                                 of my
                                                                                    my knowledge,
                                                                                       knowledge,

information and
information and belief
                belief after
                       after aa reasonable
                                reasonable inquiry under the
                                           inquiry under the circumstances.
                                                             circumstances. Neither
                                                                            Neither Watts
                                                                                    Watts Guerra
                                                                                          Guerra

nor II am
nor    am being
          being compensated
                compensated specifically
                            specifically for this testimony.
                                         for this testimony. If
                                                             If II were
                                                                   were called
                                                                        called upon
                                                                               upon to
                                                                                    to testify,
                                                                                       testify, II could
                                                                                                   could

and would
and would competently
          competently testify
                      testify to
                              to the
                                 the facts and opinions
                                     facts and opinions set
                                                        set forth
                                                            forth herein.
                                                                  herein. II am
                                                                             am authorized
                                                                                authorized to
                                                                                           to submit
                                                                                              submit

this Declaration
this Declaration on
                 on behalf
                    behalf of
                           of the
                              the AHC
                                  AHC of
                                      of Supporting Counsel.
                                         Supporting Counsel.

        3.
        3.      II have
                   have aa Juris Doctor degree
                           Juris Doctor degree from the University
                                               from the University of
                                                                   of Texas
                                                                      Texas School of Law.
                                                                            School of Law. II am
                                                                                              am aa

licensed attorney admitted
licensed attorney admitted to
                           to practice
                              practice in the states
                                       in the states of
                                                     of Texas, Arkansas, and
                                                        Texas, Arkansas, and Oregon,
                                                                             Oregon, the
                                                                                     the U.S.
                                                                                         U.S.

District Courts
District Courts for
                for the
                    the Southern,
                        Southern, Eastern, Northern, and
                                  Eastern, Northern, and Western Districts of
                                                         Western Districts of Texas, the Fifth
                                                                              Texas, the Fifth

Circuit Court
Circuit Court of
              of Appeals
                 Appeals and
                         and the
                             the United
                                 United States
                                        States Supreme Court.
                                               Supreme Court.

       4.
       4.       Since 1990, II have
                Since 1990,    have been
                                    been in private practice
                                         in private practice and
                                                             and started
                                                                 started my
                                                                         my own
                                                                            own law firm in
                                                                                law firm in April
                                                                                            April

1997. II have
1997.    have thirty-three
              thirty-three years'
                           years’ experience
                                  experience representing
                                             representing clients
                                                          clients across
                                                                  across the
                                                                         the country
                                                                             country in complex and
                                                                                     in complex and

high profile
high profile mass
             mass tort
                  tort litigation, as enumerated
                       litigation, as enumerated below:
                                                 below:

               (a)
               (a)     Co-Lead Counsel
                       Co-Lead   Counsel in   the Acetaminophen-ASD/ADHD
                                           in the Acetaminophen-ASD/ADHD Products
                                                                                Products Liability
                                                                                          Liability
                       Litigation (MDL 3043),
                       Litigation (MDL     3043), In
                                                  In re:
                                                     re: Pradaxa
                                                         Pradaxa (Dabigatran
                                                                   (Dabigatran Etexilate) Products
                                                                               Etexilate) Products
                       Liability
                       Liability Litigation (MDL 2385)
                                 Litigation (MDL   2385) and
                                                         and in
                                                             in In Re: Stand
                                                                In Re: Stand ‘N
                                                                             `N Seal (MDL 1804).
                                                                                Seal (MDL   1804).
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               (b)
               (b)      Counsel for
                       Counsel    for over
                                       over 16,000
                                             16,000 victims
                                                       victims of
                                                               of the
                                                                   the 2017-18
                                                                        2017-18 northern
                                                                                  northern California
                                                                                            California
                        wildfires started
                       wildfires  started by
                                          by utility
                                             utility equipment  of Pacific
                                                     equipment of  Pacific Gas
                                                                           Gas && Electric; negotiated
                                                                                  Electric; negotiated
                       aa global settlement via
                          global settlement   via its
                                                  its bankruptcy
                                                      bankruptcy plan
                                                                  plan of
                                                                        of reorganization
                                                                           reorganization resulting in
                                                                                          resulting in
                        $13.5 billion
                        $13.5 billion paid
                                      paid to
                                           to fire survivors via
                                              fire survivors via the
                                                                 the Fire
                                                                     Fire Victims
                                                                          Victims Trust.
                                                                                  Trust.

               (c)
               (c)     Lead   trial counsel
                       Lead trial   counsel in  in the
                                                    the first   Plaintiff bellwether
                                                          first Plaintiff   bellwether verdicts
                                                                                          verdicts inin first
                                                                                                         first
                       Ford/Firestone tire
                       Ford/Firestone   tire lawsuit    (see MDL
                                              lawsuit (see    MDL 1373);
                                                                     1373); the
                                                                              the first
                                                                                  first Rezulin
                                                                                         Rezulin plaintiffs'
                                                                                                   plaintiffs’
                       verdict (see
                       verdict (see MDL
                                    MDL 1348);
                                            1348); the
                                                     the only
                                                          only plaintiffs'
                                                               plaintiffs’ verdict
                                                                            verdict in
                                                                                    in Sulzer  hip implants
                                                                                        Sulzer hip  implants
                       (see MDL
                       (see  MDL 1401);
                                   1401); trial
                                            trial of
                                                  of first  Baycol case
                                                      first Baycol  case (see
                                                                           (see MDL
                                                                                MDL 1431);
                                                                                        1431); trial
                                                                                                trial of
                                                                                                      of first
                                                                                                         first
                       welding rods
                       welding   rods case  during MDL
                                      case during     MDL 1525;
                                                             1525; trial
                                                                    trial of
                                                                          of two
                                                                             two bellwether
                                                                                  bellwether cases    during
                                                                                               cases during
                       In
                       In re Vioxx (see
                          re Vioxx  (see MDL
                                          MDL 1657);
                                                  1657); and
                                                           and the
                                                               the only
                                                                   only Plaintiffs'
                                                                         Plaintiffs’ verdict
                                                                                     verdict during
                                                                                              during In   Re:
                                                                                                       In Re:
                       Levaquin   (see MDL
                       Levaquin (see   MDL 1943).
                                               1943).

               (d)
               (d)     Lead settlement counsel
                       Lead settlement counsel for
                                                for Texas’   political subdivisions,
                                                    Texas' political   subdivisions, working
                                                                                      working with
                                                                                              with the
                                                                                                    the
                       federal MDL in
                       federal MDL     In re:
                                    in In re: National
                                              National Prescription
                                                        Prescription Opiate
                                                                        Opiate Litigation,  MDL 2804
                                                                                Litigation, MDL   2804
                       (S.D.N.Y.), which
                       (S.D.N.Y.), which resulted    in billions
                                           resulted in  billions ofof dollars
                                                                       dollars in  settlements to
                                                                               in settlements  to help
                                                                                                   help
                       communities abate
                       communities  abate the
                                          the opioid
                                              opioid crisis
                                                      crisis

       5.
       5.      My law
               My law firm
                      firm represents approximately 16,935
                           represents approximately 16,935 individuals who claim
                                                           individuals who claim to
                                                                                 to suffer
                                                                                    suffer from
                                                                                           from

mesothelioma, ovarian
mesothelioma, ovarian cancer,
                      cancer, and
                              and other
                                  other forms of gynecologic
                                        forms of gynecologic cancer
                                                             cancer as
                                                                    as aa result
                                                                          result of
                                                                                 of their
                                                                                    their use
                                                                                          use of
                                                                                              of

Johnson & Johnson
Johnson &         talc products.
          Johnson talc products.

       6.
       6.      As experienced
               As experienced counsel
                              counsel in
                                      in mass
                                         mass tort
                                              tort litigation,
                                                   litigation, the
                                                               the constituent members of
                                                                   constituent members of the
                                                                                          the AHC
                                                                                              AHC

of Supporting
of            Counsel and
   Supporting Counsel and II appreciate
                             appreciate and
                                        and have
                                            have witnessed
                                                 witnessed first-hand the delay
                                                           first-hand the delay and
                                                                                and inconsistency
                                                                                    inconsistency

inherent in
inherent    attempting to
         in attempting to take
                          take thousands
                               thousands of
                                         of such
                                            such lawsuits
                                                 lawsuits to
                                                          to trial.
                                                             trial. Many
                                                                    Many clients
                                                                         clients of
                                                                                 of the
                                                                                    the AHC
                                                                                        AHC of
                                                                                            of

Supporting Counsel members
Supporting Counsel members have
                           have already
                                already waited
                                        waited years
                                               years to
                                                     to recover.
                                                        recover.

       7.
       7.      On behalf
               On behalf of
                         of those
                            those claimants,
                                  claimants, at
                                             at or
                                                or around
                                                   around the
                                                          the time
                                                              time the
                                                                   the 2021
                                                                       2021 Chapter
                                                                            Chapter 11
                                                                                    11 Case
                                                                                       Case was
                                                                                            was

dismissed, II began
dismissed,    began discussions
                    discussions with
                                with Jim Murdica of
                                     Jim Murdica of Barnes
                                                    Barnes &
                                                           & Thornburg
                                                             Thornburg LLP,
                                                                       LLP, counsel for Johnson
                                                                            counsel for Johnson

& Johnson,
&          regarding aa potential
  Johnson, regarding    potential bankruptcy
                                  bankruptcy settlement
                                             settlement of
                                                        of the
                                                           the outstanding
                                                               outstanding talc
                                                                           talc claims.
                                                                                claims.

       8.
       8.      Specifically, together with
               Specifically, together with other
                                           other members
                                                 members of
                                                         of the
                                                            the AHC
                                                                AHC of
                                                                    of Supporting Counsel, II
                                                                       Supporting Counsel,

conferred with
conferred with the
               the Debtor
                   Debtor and
                          and other
                              other constituents
                                    constituents to
                                                 to assess
                                                    assess whether
                                                           whether it would be
                                                                   it would be possible
                                                                               possible to
                                                                                        to reach
                                                                                           reach aa

fair and equitable
fair and           resolution of
         equitable resolution of all
                                 all current
                                     current and
                                             and future talc exposure
                                                 future talc          matters.
                                                             exposure matters.

       9.
       9.      After aa period
               After    period of
                               of intense negotiation, the
                                  intense negotiation, the Debtor,
                                                           Debtor, Johnson & Johnson
                                                                   Johnson &         and all
                                                                             Johnson and all

members of
members of the
           the AHC
               AHC of
                   of Supporting Counsel, including
                      Supporting Counsel,           myself, entered
                                          including myself, entered into Plan Support
                                                                    into Plan Support
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Agreements ("PSA")
Agreements (“PSA”) pursuant
                   pursuant to
                            to which
                               which such
                                     such parties
                                          parties agreed
                                                  agreed to
                                                         to work
                                                            work together
                                                                 together to
                                                                          to finalize and seek
                                                                             finalize and seek

confirmation of
confirmation of aa plan
                   plan of
                        of reorganization
                           reorganization that
                                          that would
                                               would fund
                                                     fund at
                                                          at least $8.9 billion
                                                             least $8.9 billion net
                                                                                net present
                                                                                    present value
                                                                                            value to
                                                                                                  to

aa trust
   trust for
         for the
             the benefit
                 benefit of
                         of all
                            all talc-related
                                talc-related claims.
                                             claims.

        10.
        10.     If confirmed, such
                If confirmed, such aa plan
                                      plan would
                                           would constitute
                                                 constitute the
                                                            the largest
                                                                largest settlement
                                                                        settlement in any asbestos
                                                                                   in any asbestos

bankruptcy case
bankruptcy case and
                and one
                    one of
                        of the
                           the largest
                               largest settlements
                                       settlements of
                                                   of personal
                                                      personal injury
                                                               injury claims
                                                                      claims in
                                                                             in U.S.
                                                                                U.S. history.
                                                                                     history.

        11.
        11.     Through this process,
                Through this process, the
                                      the parties
                                          parties reached
                                                  reached material
                                                          material terms
                                                                   terms on
                                                                         on aa settlement
                                                                               settlement that
                                                                                          that II and
                                                                                                  and

the AHC
the AHC of
        of Supporting Counsel believe
           Supporting Counsel believe would
                                      would not
                                            not only
                                                only compensate
                                                     compensate the
                                                                the AHC
                                                                    AHC of
                                                                        of Supporting
                                                                           Supporting

Counsel’s clients
Counsel's clients fairly
                  fairly given
                         given the
                               the harm
                                   harm they
                                        they have
                                             have suffered,
                                                  suffered, but
                                                            but would
                                                                would do
                                                                      do so
                                                                         so on
                                                                            on aa timeline
                                                                                  timeline that
                                                                                           that will,
                                                                                                will,

contrary to
contrary to the
            the prospect
                prospect of
                         of aa decades-long
                               decades-long litigation in the
                                            litigation in the tort
                                                              tort system,
                                                                   system, result
                                                                           result in
                                                                                  in the
                                                                                     the swift
                                                                                         swift payment
                                                                                               payment

to all
to all talc
       talc claimants.
            claimants.

        12.
        12.     To that end,
                To that      when negotiating
                        end, when             the PSA's
                                  negotiating the PSA’s and
                                                        and proposed
                                                            proposed plan's
                                                                     plan’s terms,
                                                                            terms, I, along with
                                                                                   I, along with

other members
other members of
              of the
                 the AHC
                     AHC of
                         of Supporting Counsel, insisted
                            Supporting Counsel, insisted on
                                                         on terms
                                                            terms that
                                                                  that would
                                                                       would require
                                                                             require the
                                                                                     the Debtor
                                                                                         Debtor

to file
to file aa proposed
           proposed plan
                    plan by
                         by May
                            May 14,
                                14, 2023,
                                    2023, or
                                          or as
                                             as soon
                                                soon as
                                                     as thereafter
                                                        thereafter was
                                                                   was feasible. Consistent with
                                                                       feasible. Consistent with its
                                                                                                 its

commitments in
commitments in this
               this regard,
                    regard, the
                            the Debtor
                                Debtor submitted
                                       submitted its
                                                 its proposed
                                                     proposed plan
                                                              plan on
                                                                   on May
                                                                      May 15,
                                                                          15, 2023
                                                                              2023 with
                                                                                   with terms
                                                                                        terms

that were
that were largely
          largely consistent
                  consistent with
                             with what
                                  what we
                                       we negotiated.
                                          negotiated.

        13.
        13.     When appropriate
                When appropriate to
                                 to do so under
                                    do so under the
                                                the circumstances, and subject
                                                    circumstances, and subject to
                                                                               to reaching
                                                                                  reaching

agreement on
agreement on the
             the final
                 final terms
                       terms of
                             of the
                                the Proposed
                                    Proposed Plan,
                                             Plan, II intend to confer
                                                      intend to confer with
                                                                       with my
                                                                            my clients
                                                                               clients and
                                                                                       and

recommend that
recommend that they
               they vote
                    vote in
                         in favor of the
                            favor of the Proposed
                                         Proposed Plan
                                                  Plan once
                                                       once final.
                                                            final.
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II declare
   declare under
           under penalty
                 penalty of
                         of perjury
                            perjury that
                                    that the
                                         the foregoing
                                             foregoing is
                                                       is true
                                                          true and
                                                               and correct.
                                                                   correct.




 Dated: May
 Dated: May 26,
            26, 2023
                2023                                /s/
                                                    /s/ Neial C         Gi)a-t-
                                                    Mikal C.
                                                    Mikal C. Watts
                                                             Watts
